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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address

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Facsimile: (714) 557-3347
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         Individual appearing without an attorney
         Attorney for: MongoDB, Inc.

                                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY
                                                                                  DIVISION
                                                                                       DIVISION

    In re:                                                                      CASE NO.: 1:24-BK-10646-MB
SYNAPSE FINANCIAL TECHNOLOGIES, INC.                                            CHAPTER:



                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE:
                                                                                 APPLICATION OF NON-RESIDENT
                                                                                ATTORNEY TO APPEAR IN A SPECIFIC
                                                                                CASE [LBR 2090-1(b)]


PLEASE TAKE NOTE that the order titled Order on Application of Non-Resident Attorney to Appear in a Specific Case
[LBR 2090-1(b)]

was lodged on (date)           07/10/2024           and is attached. This order relates to the motion which is docket number 315 .




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
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 Attorney or Party Name, Address, Telephone & FAX                              FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

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      Attorney for: MongoDB, Inc.

                                        UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA -SAN FERNANDO VALLEY DIVISION

 In re:                                                                        CASE NO.: 1:24-BK-10646-MB
 SYNAPSE FINANCIAL TECHNOLOGIES, INC.                                          CHAPTER: 11
                                                                               ADVERSARY NO.:

                                                                Debtor(s)


                                                                                      ORDER ON APPLICATION OF
                                                                                 NON-RESIDENT ATTORNEY TO APPEAR IN
                                                                Plaintiff(s)
                                                                                    A SPECIFIC CASE [LBR 2090-1(b)]
                                      vs.




                                                                                         [No hearing required per LBR 2090-1(b)(6)]

                                                            Defendant(s)

The court, having reviewed the Application of the non-resident attorney to appear in a specific case under LBR 2090-1(b),
and good cause appearing, orders as follows:

    The Application is granted and the following person may appear as requested in the above-entitled case (specify
    name of applicant): Edward L. Schnitzer, Esq.


    Permission to appear pro hac vice is effective upon payment of the requisite fee to the United States District Court for
    the Central District of California.




                                                                            ###



            This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2016                                                                                                     F 2090-1.2.ORDER.NONRES.ATTY
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
400 Spectrum Center Drive, Suite 1700, Irvine CA 92618.


A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
   07/10/2024       I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

07/10/2024            Sul Lee                                                                /s/ Sul Lee
Date                        Printed Name                                                      Signature




       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                   Page 2                        F 9021-1.2.BK.NOTICE.LODGMENT
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                   Notice Parties Served Via Notice of Electronic Filing

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Andrew Michael Cummings on behalf of Creditor Cigna Health and Life Insurance Company
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Jeffrey C Wisler on behalf of Creditor Cigna Health and Life Insurance Company
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